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11
                        UNITED STATES DISTRICT COURT
12

13                    NORTHERN DISTRICT OF CALIFORNIA

14                            SAN FRANCISCO DIVISION

15

16
                                            Case No. 4:20-mc-80214-DMR
17
                                            TWITTER’S REPLY IN SUPPORT OF ITS
18                                          MOTION FOR DE NOVO DETERMINATION
   IN RE DMCA § 512(h) SUBPOENA TO
19 TWITTER, INC.,                           OF DISPOSITIVE MATTER REFERRED TO
                                            MAGISTRATE JUDGE
20
                                            HEARING DATE: MAY 12, 2022
21
                                            HEARING TIME: 10:00 A.M. (VIA ZOOM)
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 1                                  I. INTRODUCTION

 2        Twitter respectfully requests that the Court vacate the Order, quash the

 3 subpoena, and deny Bayside’s motion to compel.

 4        In its Opposition, Bayside attempts to erect a number of barriers to prevent

 5 Twitter from raising important issues under the First Amendment on behalf of its

 6 users. First, it argues that Twitter lacks standing to protect its users from First

 7 Amendment encroachments. But the Ninth Circuit, and every other authority of

 8 which Twitter is aware, disagrees. Twitter has standing here because the challenge

 9 benefits society at large, because the interests of Twitter and its users on this

10 question are aligned, and because Twitter is directly affected by this now very public

11 unmasking.

12        Second, Bayside and its amici take the bold position that Section 512(h)

13 statutorily prohibits providers from seeking any judicial review of such subpoenas at

14 all. That argument would render Section 512(h) unconstitutional, and this precise

15 argument has already been rejected by another court in this District—the only court

16 to have weighed in upon the issue.

17        Third, Bayside argues that Twitter’s motion to quash was untimely, even

18 though it timely served written objections. Bayside’s argument boils down to the

19 contention that a subpoena recipient that has objected to a subpoena cannot

20 thereafter seek judicial review, even (as here), where it is being threatened with an

21 imminent motion to compel and the prospect of sanctions. Instead, a subpoena

22 recipient must simply await a motion to compel. This argument is entirely

23 unsupported.

24        Setting aside these baseless procedural arguments, Bayside’s Opposition

25 raises only limited substantive issues warranting reply. One such issue is the

26 “transformation” component of fair use. The Tweets here use Bayside’s allegedly

27 copyrighted images to comment on Brian Sheth. Because Bayside ostensibly did not

28                                             -1-
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 1 copyright the photographs in order to similarly comment on Brian Sheth,1 the

 2 Tweets are transformative fair uses. In its Opposition, Bayside misstates

 3 fundamental elements of the transformation analysis and even goes so far as to

 4 advance a legal theory expressly rejected by the Ninth Circuit (in a case cited

 5 elsewhere in Bayside’s Opposition).

 6          Another substantive issue, as identified by the amicus brief submitted by

 7 Public Citizen2 and as outlined above, is each party’s submissions of arguments and

 8 information relevant to the balancing test required here.

 9          Twitter has explained its interest in defending this user’s anonymity:

10 preventing free speech from being chilled on its platform. Twitter is not alone in its

11 concern regarding unmasking; that chilling threat has been recognized by dozens of

12 prior courts, amici, news organizations, legal commentators, and the public. That

13 chilling threat is self-evident with respect to critical commentary generally. And

14 here, that threat may be evident directly from the user that Bayside is targeting.

15 Pursuant to a court order in this case, Twitter notified the affected user of the

16 subpoena and there has been no apparent public activity by the account since that

17 notice was sent.

18          Conversely, Bayside has failed to disclose any information or evidence upon

19 which the Court could possibly resolve the requisite balancing test in Bayside’s

20 favor. Indeed, after over a year of litigation and numerous briefs filed by Twitter,

21 Bayside, and now several amici, the questions of “who is Bayside?” and “why does

22 Bayside want to sue a Twitter account for posting candid snapshots of unknown

23 women?” are left unanswered. As a result, Bayside has not set forth any factors to

24 tip the balance in its favor, despite being singularly able to do so.

25

26   Opp., at 2 (“Bayside…acquires and licenses photographs for commercial
     1

   exploitation.”).
27 2 Referred to throughout as the “Public Citizen Brief.”

28                                              -2-
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 1                                          II. REPLY

 2             A. Twitter has standing to defend its users from unconstitutional

 3                attempts to unmask their identities.

 4         Contrary to Bayside’s argument, the law is clear that Twitter has standing to

 5 raise the First Amendment rights of its users in opposition to unmasking subpoenas.

 6 Indeed, Bayside fails to mention the numerous cases around the country rejecting its

 7 position and holding that a platform like Twitter (in fact, expressly including

 8 Twitter) has standing to assert its users’ First Amendment rights.

 9         The amicus briefs submitted by EFF, ACLU, and Public Citizen identify

10 several such cases for the Court. See EFF/ACLU Brief, at 14 (citing, inter alia,

11 McVicker v. King, 266 F.R.D. 92, 95-96 (W.D. Penn. 2010) (“The trend among courts .

12 . . is to hold that entities such as . . . website hosts may, under the principle of jus

13 tertii standing, assert the rights of their . . .subscribers.”)); Public Citizen Brief, at 5

14 (citing, inter alia, Digital Music News v. Super. Ct., 171 Cal. Rptr. 3d 799, 809 n.12

15 (2014) (“Digital possesses standing to assert Visitor's constitutional rights”)). And

16 there are many more beyond that. See, e.g., Yelp Inc. v. Super. Ct., 17 Cal. App. 5th

17 1, 13 (Cal. Ct. App. 2017) (reviewing the standing issue in great detail before holding

18 as a matter of law that “a website host such as Yelp has standing to assert the First

19 Amendment rights of persons who post reviews anonymously on its site, as against

20 an effort to compel Yelp to identify those persons.”); East Coast Test Prep LLC v.

21 Allnurses.com, Inc., 167 F. Supp. 3d 1018, 1022-23 (D. Minn. 2016) (holding that

22 website operator had third-party standing to raise First Amendment protections on

23 behalf of its anonymous users).

24         Twitter and each of the amici supporting Twitter have directed the Court to

25 In re Verizon Internet Svcs., Inc., 257 F. Supp. 2d 244 (D.D.C. 2003), rev’d on other

26 grounds sub nom. Recording Indus. Ass’n of Am. v. Verizon Internet Svcs., 351 F. 3d

27 1229 (D.C. Cir. 2003), a case cited repeatedly by Bayside across its briefs. There,

28                                               -3-
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 1 Verizon asserted a First Amendment challenge to Section 512(h) on behalf of its

 2 users.3 Id. at 246. In holding that Verizon had standing to do so, that Court

 3 recognized that: (1) this type of challenge is brought “for the benefit of society–to

 4 prevent . . . chilling the First Amendment rights of other parties not before the

 5 court[;]”4 (2) that a provider is “an adequate advocate to assert the First Amendment

 6 rights of its subscribers” because the provider-user relationship is a “type of

 7 relationship courts have found will ensure that issues will be ‘concretely and sharply

 8 presented;’” and (3) that a provider has a vested interest in protecting their users’

 9 First Amendment rights because “a failure to do so could affect [their] ability to

10 maintain and broaden [their] client base.” Id. at 258.

11          The Ninth Circuit has also held that Glassdoor, a website operator that

12 likewise facilitates anonymous speech, had standing to assert its users’ First

13 Amendment rights based on its relationship to its users and judicial concern that

14 those users would face “genuine obstacles” in asserting their own rights to

15 anonymity. In re Grand Jury Subpoena No. 16-03-217, 875 F.3d 1179, 1183 n.2 (9th

16 Cir. 2017). Bayside attempts to distinguish that binding authority by suggesting

17 that Twitter should have to provide, in each case, repetitive and duplicative evidence

18 to convince each court of the very same standing proposition. That exercise would be

19 entirely unnecessary. As Verizon made clear, such standing is cognizable as a matter

20 of law. See generally Verizon, 257 F. Supp. 2d at 258. And, to hold otherwise would

21 risk grave harms to the First Amendment more broadly. See generally, EFF/ACLU

22 Brief, at 15. But, should the Court require additional briefing or evidence as to

23 Twitter’s standing, Twitter is prepared to submit any such materials.

24
     For this reason, Verizon is relevant only with respect to standing. Twitter takes no
     3
25
   position here on whether Section 512(h) is broadly unconstitutional; Twitter argues
26 only that a particular user warrants First Amendment protection as limited to these
   facts.
27 4 Quoting Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947, 958 (1984).

28                                             -4-
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 1          Bayside’s own standing analysis fails to cite a single authority holding that an

 2 online platform does not have standing to raise the First Amendment rights of its

 3 users. The closest that Bayside comes is by lengthy illustration of Sines v. Kessler, a

 4 case that Bayside itself distinguishes as being about one user having standing to

 5 raise objections on behalf of other users. Opp., at 7 (citing Sines v. Kessler, No. 18-

 6 mc-80080-JCS, 2018 WL 3730434 (N.D. Cal. Aug. 6, 2018)). Sines is inapposite.

 7          B.    Twitter is statutorily permitted to raise fair use in response to a

 8                512(h) subpoena.

 9          Bayside and the Doniger Amici5 are mistaken that under Section 512(h)(5),

10 Twitter may not “challenge a subpoena served on it pursuant to that section at all.”

11 Doniger Brief, at 8; Opp., at 10-11.6 Specifically, they point to the portion of Section

12 512(h)(5) that provides that a recipient of a subpoena “shall expeditiously disclose . .

13 . the information required by the subpoena, notwithstanding any other provision of

14 law.” (emphasis added).

15          This precise argument has already been rejected by authority upon which

16 Bayside relies. Opp. at 18 (Signature Mgmt. Team, LLC v. Automattic, Inc., 941 F.

17 Supp. 2d 1145 (N.D. Cal. 2013)). In Automattic, another court in this District

18 recognized that Section 512(h) expressly incorporates the Federal Rules of Civil

19

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     5
       A group of five “creator rights organizations” has submitted an amicus brief
     (without leave) in this case through counsel Stephen M. Doniger. Mr. Doniger is
21   counsel for plaintiff in Stross v. Twitter, Inc., et al, 2:21-cv-08360-SVW-E, copyright
     litigation currently pending in the United States District Court for the Central
22
     District of California.
     6 Bayside also argues that because Section 512(h) permits it to unmask an “alleged
23
     infringer” rather than merely “an infringer,” fair use cannot be considered in
24   adjudicating a 512(h) subpoena. But the statute uses “alleged” because the
     requesting party could plainly not yet have proven any infringement at the time of
25
     the subpoena’s issuance. In other words, without that modifier, a copyright holder
26   could never issue a 512(h) subpoena. The entire purpose of this litigation is to
     establish that “alleged” is not a limitation on Section 512(h)’s power, and that the
27   First Amendment must operate to constrain copyright holders’ investigations.
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 1 Procedure, which itself “clearly anticipates the assertion of defenses to production.”

 2 Id. at 1152 (citing 17 U.S.C. § 512(h)(6) (“the remedies for noncompliance with the

 3 subpoena, shall be governed to the greatest extent practicable by those provisions of

 4 the Federal Rules of Civil Procedure governing the issuance, service, and

 5 enforcement of a subpoena duces tecum”)). That court collected cases from around

 6 the country in which courts have reached “the merits of [a] motion to quash without

 7 casting any doubt on the validity of the procedure.” Id. at 1153. The court thus

 8 concluded that “constitutional objections to a DMCA subpoena may properly be

 9 raised in a motion to quash,” id., and this Court should not depart from that holding.

10        By contrast, the Doniger Amici offer only nebulous authority regarding

11 Congressional intent in legislative drafting to support their argument. Doniger

12 Brief, at 9. And Bayside points to Lenz, which interprets a different phrase (“by the

13 law”), in a different context (content removals), for purposes of adjudicating a

14 different type of dispute (a lawsuit by a purported infringer). Opp., at 10-11.

15        Adopting Bayside’s interpretation would render Section 512(h)

16 unconstitutional. Section 512(h) creates a unique statutory scheme whereby

17 “Congress, via statute, compels a clerk of a court to issue a subpoena, thereby

18 invoking the court’s power.” In re Charter Comms., Inc., Subpoena Enforcement

19 Matter, 393 F.3d 771, 777-78 (8th Cir. 2005). That alone “may unconstitutionally

20 invade the power of the judiciary.” Id. The only constitutional safety valve for

21 Section 512(h) is the opportunity for judicial review after the subpoena’s issuance.

22 Otherwise, copyright organizations could simply compel the judiciary to issue

23 subpoenas without any opportunity for the recipient of the subpoena to seek review.

24 This would both violate the constitutional rights of subpoena recipients and generate

25 plain abuses of process. See Automattic, 941 F. Supp. at 1153 (“At minimum,

26 TEAM’s interpretation raises grave doubts as to the constitutionality of the DMCA

27 subpoena provision.”).

28                                             -6-
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 1           C.    Twitter’s Motion to Quash was timely filed.

 2           Bayside repeats its unsupported theory that Twitter untimely filed its Motion,

 3 despite having timely served written objections as permitted by the Federal Rules of

 4 Civil Procedure. Opp., at 19-20. Twitter has already fully responded to this

 5 argument in its Reply in Support of Its Motion to Quash § II.D and adopts here in

 6 full each of the arguments it made there.

 7           In summary, the Federal Rules establish a deadline by which a subpoena

 8 recipient must provide a “written objection” to that subpoena. Fed. R. Civ. P.

 9 45(d)(2)(B). There is no question here that Twitter met that deadline. Instead,

10 Bayside attempts to invent a new deadline under the Rules by which time a

11 subpoena recipient must move to quash, even if it has already timely served written

12 objections. See Fed. R. Civ. P. 45(d)(3)(A) (providing only that a motion to quash

13 must be made “timely”). Twitter submits that where a subpoena recipient has

14 already met its deadline for a “written objection” under Rule 45(d)(2)(B), a

15 subsequent motion to quash would be “timely” so long as it is filed within a

16 reasonable time after the conclusion of informal efforts to resolve those objections

17 without the Court’s involvement.7 See Friedman v. Old Republic Home Prot. Co., No.

18 SACV 12-1833 AG (OPx), 2014 WL 12845131, at *2 (C.D. Cal. June 24, 2014) (“It is

19 not appropriate . . . to rob CRES of the opportunity to move to quash the subpoena

20 because its good faith efforts to resolve the matter outside of Court made its request

21 untimely under some decisions interpreting Rule 45.”).

22           Bayside’s only addition to its argument is a citation to Franco v. Alorica, Inc.,

23
     7
       In any event, this argument does not help Bayside. Bayside has, in parallel, moved
24   to compel Twitter’s compliance with its subpoena. Doc. 10. Twitter opposed that
     motion to compel by re-asserting the arguments it made in its Motion to Quash. See
25
     Doc. 16 (“Twitter opposes the Motion on the same First Amendment bases outlined
26   in Twitter’s motion to quash…”). Even if Bayside is correct that Twitter’s motion to
     quash was untimely, that ruling has no effect on this litigation; the exact same
27   issues must be resolved in connection with Bayside’s pending motion to compel.
28                                                -7-
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 1 No. 2:20-cv-05035, 2021 WL 6104816, at *3 (C.D. Cal. Nov. 5, 2021), a decision post-

 2 dating Twitter’s motion to quash in this case. Emy Franco concerned a third party’s

 3 failure to timely move to quash under an existing scheduling order. Id., at *3. This

 4 dispute does not involve a scheduling order.

 5           D.    Twitter has established that the Tweets are sufficiently

 6                 transformative so as to constitute fair use.

 7           The elements of fair use and the extent to which the Tweets qualify as fair

 8 uses have sufficiently been briefed by the parties. See Motion to Quash, § III.B.1;

 9 Reply In Support of Motion to Quash, § II.B; Motion, § IV.B. Only two fair use

10 arguments in Bayside’s Opposition warrant additional briefing beyond that

11 submitted to this point by Twitter and the participating amici.

12                 1.     The Court can evaluate fair use based on the Tweets alone.

13           Bayside does not contest that, in general, allegedly infringing content itself is

14 sufficient evidence upon which a court may conduct a fair use analysis.8 Twitter’s

15 Motion identifies several authorities establishing that point. Motion, at 7. And the

16 amicus brief jointly submitted by the Electronic Frontier Foundation and the ACLU

17 Foundation of Northern California helpfully collects authorities holding the same.

18 EFF/ACLU Brief, at 9-10. The Tweets alone here are sufficient to establish fair use

19 for the reasons Twitter has previously articulated, including that, inter alia,

20 Tweeting is not generally a for-profit activity and the photographs are candid

21 snapshots on their face.

22                 2.     Bayside misapprehends the“transformation” component of fair

23                        use analysis.

24           Bayside misstates the law regarding the fair use doctrine’s “transformation”

25

26  This general concession is important and departs from the Magistrate Judge’s
     8

   Order, even if Bayside maintains that these particular Tweets offer insufficient
27 evidence of fair use.

28                                                -8-
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 1 analysis. The Tweets here were used for criticism and commentary such that the

 2 Tweets were transformative uses of the photographs contained therein. See, e.g.,

 3 Sedgwick Claims Mgmt. Svcs., Inc. v. Delsman, No. C 09-1468 SBA, 2009 WL

 4 2157573, at *5 (N.D. Cal. July 17, 2009) (finding transformative the defendant’s use

 5 of two copyrighted photographs that were copied, in full, onto a “WANTED” poster

 6 for the purpose of criticizing the plaintiff).

 7              a. Bayside lacks authority to support its position that “candid”

 8                 photographs are legally indistinguishable from non-candid

 9                 photographs.

10           Transformative use is easier to recognize for “candid” photographs, which are

11 more factual than creative in nature. Katz v. Google Inc., 802 F.3d 1178, 1183 (11th

12 Cir. 2015).9 A“candid” photograph, on its face, is a photograph that is primarily

13 factual, one in which there is little attempt to “convey ideas, emotions, or in any way

14 influence [the subject’s] pose, expression, or clothing.” Id.

15           Bayside attempts to argue that a photograph’s “candid” nature does not

16 impact its copyright protections with respect to fair use by citing Andy Warhol

17 Found. for Visual Arts, Inc. v. Goldsmith, 11 F. 4th 26, 53 (2d Cir. 2021). See Opp.,

18 at 11. Warhol has no bearing on the transformative use analysis for candid

19 photographs; it does not mention the term “candid” once, and the underlying

20 photograph at issue in that case was not candid – it was a “photograph of the

21 musical artist Prince that was taken…in [a] studio,” and licensed to Vanity Fair, by

22 Lynn Goldsmith, a “professional photographer primarily focusing on celebrity

23 photography . . . [whose] work has been featured widely, including on over 100

24 record album covers.” Id. at 32-33.

25
    Twitter has cited Katz in every substantive brief submitted to this Court because it
     9

26 dealt with allegedly infringing uses identical to the Tweets at issue here and found
   those uses to be transformative based on the facial content of the blog posts in
27 question there.

28                                               -9-
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 1            b. The Ninth Circuit has expressly rejected Bayside’s argument that, to be

 2               transformative, a derivative work must comment on or criticize the

 3               original work.

 4         Bayside also claims that for a derivative work to be a fair use of an original,

 5 that derivative work must “comment on or criticize the Photographs themselves.”

 6 Opp., at 12. But here again, the authority cited elsewhere by Bayside belies this

 7 argument. See Seltzer v. Green Day, Inc., 725 F. 3d 1170, 1177 (9th Cir. 2013); Opp.,

 8 at 15-16 (citing Seltzer only on substantiality). Indeed, Seltzer is binding authority

 9 directly contradicting Bayside’s argument. Like Bayside, Seltzer first cites Monge in

10 reviewing the “typical ‘non-transformative’ case,” where a derivative use “makes no

11 alteration to the expressive content or message of the original work.” Id. (emphasis in

12 original). But the Ninth Circuit continues:

13         In contrast, an allegedly infringing work is typically viewed as
           transformative as long as new expressive content or message is
14
           apparent. This is so even where–as here–the allegedly infringing work
15         makes few physical changes to the original or fails to comment on the
           original.
16

17 Id. (emphasis added) (collecting cases holding same). That holding should be

18 uncontroversial; fair use is frequently recognized for uses that do not “comment on

19 or criticize” the copyrighted works themselves. See, e.g., Dhillon v. Does 1-10, No. C

20 13-01465, 2014 WL 722592, at *5 (N.D. Cal. Feb. 25, 2014) (defendant’s use of

21 copyrighted photograph was transformative fair use where used “as part of its

22 criticism of, and commentary on, the plaintiff’s politics”).

23            c. Bayside’s juxtaposition of parody and satire is irrelevant to this dispute.

24         Bayside’s asserted distinction between parody and satire is not determinative

25 of whether the Tweets constitute fair use. Opp., at 13-14. “[W]hat matters is whether

26 the work is transformative, not whether it is parody or satire or caricature or serious

27 social commentary or any other specific form of expression.” Hilton v. Hallmark

28                                             -10-
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 1 Cards, 599 F.3d 894, 910 n.13 (9th Cir. 2010) (cleaned up). And no matter how the

 2 Tweets are classified, they were facially intended to criticize or comment on Brian

 3 Sheth’s lifestyle. See 17 U.S.C. § 107 (“criticism, comment” expressly protected as an

 4 authorized fair use purpose); In re DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d

 5 875, 884 (N.D. Cal. 2020) (use of Watch Tower’s copyrighted works “in their original

 6 and unaltered states” was transformative where accompanied by criticism of Watch

 7 Tower, because “physical changes are not required for a new use to be

 8 transformative”); In re DMCA Section 512(h) Subpoena to YouTube (Google, Inc.), –

 9 F. Supp. 3d –, No. 7:18-mc-00268 (NSR), 2022 WL 160270, at *9 (S.D.N.Y. Jan. 18,

10 2022) (quashing Section 512(h) subpoena to Google because YouTube user’s use of

11 copyrighted works was critical commentary and therefore transformative fair use).

12 So long as that criticism of Sheth was not the use for which the photographs were

13 originally copyrighted–and Bayside concedes it is not–the user’s application here

14 was transformative. See Opp., at 2 (articulating that, rather than being in the

15 business of criticizing billionaires, Bayside “acquires and licenses photographs for

16 commercial exploitation”).

17               E. The balance of harms weighs in favor of protecting the user.

18            Twitter shares Public Citizen’s position as to how the Court should apply the

19 “balancing test” supplied by Highfields,10 and Twitter also agrees that no party

20 bears the burden of proof (nor any evidentiary burden) at the balancing test stage.

21 Public Citizen Brief, at 14-16; Motion, at 9 (“no evidence is needed”).

22            Tipping the balance in the user’s favor are the inherent and profound harms

23

24   The briefing already before the Court, both by Twitter and by Public Citizen,
     10

   sufficiently establishes that Highfields offers the appropriate First Amendment
25
   standard here. The Sony standard advanced by Bayside applies to an entirely
26 different type of alleged copyright infringement (naked file-sharing) that enjoyed
   very limited protections under the First Amendment. See Public Citizen Brief, Part
27 II.

28                                               -11-
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 1 that enforcement of subpoenas like this have in chilling free speech. As numerous

 2 courts have recognized, unmasking alone (even without any eventual lawsuit being

 3 filed) is enough to dissuade other individuals from engaging in protected speech

 4 activities, particularly where they would be criticizing rich and powerful individuals

 5 capable of sustaining lengthy and costly litigation. Motion, at 9-10. And this Court’s

 6 decision will not go unnoticed; as should be evident from the substantial amici

 7 participation already at this stage, and by the substantial volume of press

 8 attention11 and critical commentary12 on these proceedings, the outcome of this

 9 dispute could substantially impact public discourse.

10            Bayside, on the other hand, has not set forth any factors to tip the balance in

11 its favor, despite being singularly able to do so. For example, Bayside could have

12 explained why or how its inability to pursue a copyright claim here would impact its

13 business or the copyrighted works’ values. Bayside has not even articulated how

14 these copyrighted works are important to it, or how–as Public Citizen points out–

15 “the pursuit of this litigation could be economically rational” considering that it

16 could recover only limited damages on its infringement claims and could not recover

17 attorneys’ fees. Public Citizen Brief, at 16-17.

18            Bayside’s silence on the balancing test is noteworthy because the facts that

19 are available about Bayside should give the Court serious pause before crediting its

20
     11
        See, e.g., Antoine Gara, Vista Co-Founder Brian Sheth And the Battle Over
21   Salacious Twitter Account @CallMeMoneyBags, Forbes Editors’ Pick (Feb. 8, 2021),
     https://www.forbes.com/sites/antoinegara/2021/02/08/exclusive-vista-co-founder-
22
     brian-sheth-tied-to-battle-over-salacious-twitter-account-
23   callmemoneybags/?sh=564ef262f497; Wendy Davis, Watchdogs Blast ‘Deeply Flawed’
     Order Unmasking ‘CallMeMoneyBags’, Media Post (Feb. 22, 2022),
24   https://www.mediapost.com/publications/article/371401/watchdogs-blast-deeply-
     flawed-order-unmasking-c.html.
25   12 Mike Masnick, ACLU & EFF Step Up To Tell Court You Don't Get To Expose An

26   Anonymous Tweeter With A Sketchy Copyright Claim, Techdirt (Feb. 24, 2022),
     https://www.techdirt.com/2022/02/24/aclu-eff-step-up-to-tell-court-you-dont-get-to-
27   expose-anonymous-tweeter-with-sketchy-copyright-claim/.
28                                                -12-
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 1 arguments. See Public Citizen Brief, at 17 (noting that Bayside was not formed until

 2 the month the photos were posted on Twitter; Bayside had never registered any

 3 copyrights until it registered the copyrights in these six photographs; and Bayside

 4 lacks any publicly available information about its controllers, formation, or purpose).

 5        Twitter has offered the Court everything it can offer with respect to balancing

 6 the harms between the anonymous user and Bayside’s purported copyright interests.

 7 And Twitter contends that that offering is sufficient; numerous other courts have

 8 held that the “self-evident” prospect of chilled speech is enough to quash similar

 9 subpoenas. Motion, at 9-10. If the Court seeks additional information so as to

10 conduct the balancing test, the Court may in its discretion ask that Bayside further

11 explain its interests here. See generally Public Citizen Brief, at 17 (citing America

12 Online v. Anon. Pub. Traded Co., 542 S.E.2d 377, 385 (Va. 2001) for this option).

13                                   III. CONCLUSION

14        For the foregoing reasons, Twitter requests that the Court vacate the Order,

15 quash the subpoena, and deny Bayside’s motion to compel.

16

17 Dated: April 25, 2022                       PERKINS COIE LLP

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19
                                               By:/s/ Julie E. Schwartz
20
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